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                                                                 IN THE
                                                          UNITED STATES DISTRICT COURT
                                                              DISTRICT OF HAWAII

                                                                 DEC -6 2U23 @tV
CLARE E. CONNORS #7936
                                                          at~   o'clock andM    min. .d) M
United States Attorney                                    ___ Lucy H. Carrillo, Cler~
District of Hawaii

CRAIG S. NOLAN
                                                   ORIGINAL
Section Chief, Criminal Division

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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 23-00097 JAO
                                         )
                   Plaintiff,            )   MEMORANDUM OF PLEA
                                         )   AGREEMENT
       vs.                               )
                                         )   DATE: December 6, 2023
ALICIA MALUAFITI,                        )   TIME: 3:00 p.m.
                                         )   JUDGE: Hon. Jill A. Otake
                   Defendant.            )
                                         )
----------)


                 MEMORANDUM OF PLEA AGREEMENT

      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the

UNITED STATES OF AMERICA, by its attorney, the United States Attorney for
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the District of Hawaii, and the defendant, ALICIA MALUAFITI, and her attorney,

Audrey L. Stanley, Esq., have agreed upon the following:

                                 THE CHARGES

      1.     The defendant acknowledges that she has been charged in an

Information with unlawful possession of controlled substances, in violation of Title

21, United States Code, Section 844(a).

      2.     The defendant has read the charge against her contained in the

Information, and that charge has been fully explained to her by her attorney.

      3.     The defendant fully understands the nature and elements of the crime

with which she has been charged.

                               THE AGREEMENT

      4.     The United States and the defendant agree as follows:

             a.    The defendant agrees to enter a voluntary plea of guilty to the

Information, which charges her with unlawful possession of controlled substances.

The defendant consents to the information and any relevant conduct set forth in

paragraph 8 and its subparagraphs of this Memorandum of Plea Agreement.

Defendant acknowledges that the Information charges her with multiple possession

offenses in a single count, and waives any challenge that the charge is duplicitous.

The defendant also waives certain of her rights to direct appeal and collateral




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attack as set forth in paragraph 13 and its subparagraphs of this Memorandum of

Plea Agreement.

             b.     In return, the Government agrees to dismiss the pending

Indictment against the defendant in this District, namely United States v. Maluafiti,

Case No. I :23-cr-00015-JAO, at the time of sentencing. The Government further

agrees to recommend that the defendant receive credit for acceptance of

responsibility as set forth in paragraph IO and its subparagraphs of this

Memorandum of Plea Agreement.

      5.     The defendant agrees that this Memorandum of Plea Agreement shall

be filed and become part of the record in this case.

      6.     The defendant enters this plea because she is in fact guilty of

unlawfully possessing controlled substances, as charged in the Information, and

she agrees that this plea is voluntary and not the result of force or threats.

                                     PENALTIES

      7.     The defendant understands that the penalties for the offense to which

she is pleading guilty, include:

             a.     A term of imprisonment of not more than I year, a mandatory

minimum fine of$1,000, but not more than $100,000, and a term of supervised

release of not more than 1 year.




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             b.    In addition, the Court must impose ~ $25 special assessment as

to each count to which the defendant is pleading guilty. The defendant agrees to

pay $25 for each count to which she is pleading guilty to the District Court's

Clerk's Office, to be credited to said special assessments, before the

commencement of any portion of sentencing. The defendant acknowledges that

failure to make such full advance payment in a form and manner acceptable to the

prosecution will allow, though not require, the prosecution to withdraw from this

Agreement at its option.

             C.    Costs of Prosecution. Pursuant to 21 U.S.C. § 844(a), upon

conviction, the defendant shall be fined the reasonable costs of the investigation

and prosecution of the offense, including the costs of prosecution of an offense as

defined in sections 1918 and 1920 of title 28, except that this sentence shall not

apply and a fine under 21 U.S.C. § 844(a) need not be imposed if the court

determines under the provision of title 18 that the defendant lacks the ability to

pay.

                           FACTUAL STIPULATIONS

       8.    The defendant admits the following facts and agrees that they are not

a detailed recitation, but merely an outline of what happened in relation to the

charge to which the defendant is pleading guilty:




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             a.    At all times relevant to the charged Information, ALICIA

MALUAFITI, the defendant, was the board president_of Poi Dogs & Popoki

("PDP"), which operated a mobile veterinary clinic on Oahu in the District of

Hawaii. The defendant was also a member of the Hawaii Board of Veterinary

Medicine.

            b.     Veterinarian- I is a doctor of veterinary medicine.

Veterinarian- I worked full-time as an independent contractor of PDP from

approximately May of2018 through late July of 2018. He was properly registered

with the DEA and the State of Hawaii to acquire and djspense controlled

substances in Hawaii during this time. During the course of V eterinarian-1 's

tenure with PDP, the clinic ordered controlled substances from Distributor- I using

Veterinarian-1 's DEA registration number.

             c.    After Veterinarian-I resigned in late July of 2018, PDP was no

longer authorized to order controlled substances using Veterinarian-1 's DEA

registration number. Nevertheless, at the defendant's direction, PDP acquired and

obtained without authorization controlled substances, including buprenorphine,

ketamine, butorphanol, pentobarbital, and diazepam, from Distributor- I using

Veterinarian-I's DEA registration number. This occurred on at least twenty-

seven different occasions between November 14, 2018 and February 12, 2020.




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The defendant knew that she unlawfully possessed those controlled substances,

which were stored at premises that she maintained and controlled.

             d.     Further, on October 27, 2019, the defendant emailed a

Controlled Substance Authorization Form to Distributor-I. The form added the

defendant as an individual authorized to order and receive controlled substances on

Veterinarian-1 's behalf. The form appeared to be signed by Veterinarian-I.

However, Veterinarian- I was not aware of, did ·not sign, and had not authorized the

form. Instead, the defendant used Veterinarian-I's signature stamp to complete

the form, knowing that she lacked authority to do so. The defendant also filled in

the portions of the form requiring Veterinarian- I 's DEA registration number,

Hawaii Narcotics Enforcement Division number, veterinary license number, name,

and the date of his signature.

             e.     In February of 2020, Distributor-I alerted the DEA to the

twenty-seven orders for controlled substances that PDP had received using

Veterinarian-I's DEA registration number. On March 4, 2020, the defendant

dropped off a box at Distributor- I 's distribution center in Aiea, Hawaii. Upon

investigation, the DEA determined that the box contained controlled substances

that PDP had unlawfully obtained using Veterinarian- I's DEA registration

number, including 188 vials ofbuprenorphine, 35 vials of ketamine, four vials of

butorphanol, one vial of pentobarbital, and one vial of diazepam.



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             f.    The defendant's possession of controlled substances between

November 14, 2018 and March 4, 2020 was not pursuant to a valid prescription or

order from any practitioner and was not otherwise authorized by the Controlled

Substances Act.

      9.     Pursuant to Section 6B 1.2. of the Sentencing Guidelines, the parties

agree that the charge to which the defendant is pleading guilty adequately reflects

the seriousness of the actual offense behavior and that accepting this Agreement

will not undermine the statutory purposes of sentencing.

                        SENTENCING STIPULATIONS

      10.    Pursuant to CrimLR 32.l(a) of the Local Rules of the United States

District Court for the District of Hawaii and Section 6B1.4 of the Sentencing

Guidelines, the parties stipulate to the following for the purpose of the sentencing

of the defendant in connection with this matter:

             a.    As of the date of this agreement, it is expected that the

defendant will enter a plea of guilty prior to the commencement of trial, will

truthfully admit her involvement in the offense and related conduct, and wi,11 not

engage in conduct that is inconsistent with such acceptance of responsibility.· If

all of these events occur, and the defendant's acceptance of responsibility

continues through the date of sentencing, a downward adjustment of 2 levels for




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acceptance of responsibility will be appropriate. See U.S.S.G. § 3El.l(a) and

Application Note 3.

             b.     The United States Attorney agrees that the defendant's

agreement herein to enter into a guilty plea constitutes notice of intent to plead

guilty in a timely manner, so as to permit the Government to avoid preparing for

trial as to the defendant. Accordingly, the United States Attorney anticipates

moving in the Government's Sentencing Statement for a one-level reduction in

sentencing offense level pursuant to Guideline§ 3El.l(b)(2), if the defendant is

otherwise eligible. The defendant understands that notwithstanding its present

intentions, and still within the Agreement, the prosecution reserves the rights ( 1) to

argue to the contrary in the event of receipt of new information relating to those
                                                          .           .


issues, and (2) to call and examine witnesses on those issues in the event that either

the United States Probation Office finds to the contrary of the prosecution's

intentions or the Court requests that evidence be presented on those issues.

       11.   The parties agree that notwithstanding the parties' Agreement herein,

the Court is not bound by any stipulation entered into by the parties but may, with

the aid of the presentence report, determine the facts relevant to sentencing. The

parties understand that the Court's rejection of any stipulation between the parties

does not constitute a refusal to accept this Agreement since the Court is expressly

not bound by stipulations between the partie_s.



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      12.    The parties represent that as of the date of this agreement they are not

aware of any material facts in dispute for the purposes of sentencing.

                         APPEAL/COLLATERAL REVIEW

      13.    The defendant is aware that she has the right to appeal her conviction

and the sentence imposed. The defendant knowingly and voluntarily waives the

right to appeal, except as indicated in subparagraph "b" below, her conviction and

any sentence within the Guidelines range as determined by the Court at the time of

sentencing, and any lawful restitution order imposed, or the manner in which the

sentence or restitution order was determined, on any ground whatsoever, in

exchange for the concessions made by the prosecution in this Agreement. The

defendant understands that this waiver includes the right to assert any and all

legally waivable claims.

             a.    The defendant also waives the right to challenge her conviction

or sentence or the manner in which it was determined in any collateral attack,

including, but not limited to, a motion brought under Title 28, United States Code,

Section 2255, except that the defendant may make such a challenge (1) as

indicated in subparagraph "b" below, or (2) based on a claim of ineffective

assistance of counsel.

             b.    If the Court imposes a sentence greater than specified in the

guideline range determined by the Court to be applicable to the defendant, the



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defendant retains the right to appeal the portion of her sentence greater than

specified in that guideline range and the manner in which that portion was

determined and to challenge that portion of her sentence in a collateral attack.

             c.     The prosecution retains its right to appeal the sentence and the

manner in which it was determined on any of the grounds stated in Title 18, United

States Code, Section 3742(b).

                           FINANCIAL DISCLOSURE

      14.    In connection with the collection of restitution or other financial

obligations, including forfeiture as set forth below, that may be imposed upon her,

the defendant agrees as follows:

             a.     The defendant agrees to fully disclose all assets in which she

has any interest or over which she exercises control, directly or indirectly,

including any assets held by a spouse, nominee, or third party. The defendant

understands that the United States Probation Office (USPO) will conduct a

presentence investigation that will require the defendant to complete a

comprehensive financial statement. To avoid the requirement of the defendant

completing financial statements for both the USPO and the Government, the

defendant agrees to truthfully complete a financial statement provided. to the

defendant by the United States Attorney's Office. The defendant agrees to

complete the disclosure statement and provide it to the USPO within the time



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frame required by the United States Probation ·officer assigned to the defendant's

case. The defendant understands that the USPO will in turn provide a copy of the

completed financial statement to the United States Attorney's Office. The

defendant agrees to provide written updates to both the USPO and the United

States Attorney's Office regarding any material changes in circumstances, which

occur prior to sentencing, within seven days of the event giving rise to the changed

circumstances. The defendant's failure to timely and accurately complete and

sign the financial statement, and any written update thereto, may, in addition to any

other penalty or remedy, constitute the defendant's failure to accept responsibility

under U.S.S.G § 3El .1.

             b.    The defendant expressly authorizes the United States

Attorney's Office to obtain her credit report. The defendant agrees to provide

waivers, consents, or releases requested by the United States Attorney's Office to

access records to verify the financial information, such releases to be valid for a

period extending 90 days after the date of sentencing. The defendant also

authorizes the United States Attorney's Office to inspect and copy all financial

documents and information held by the USPO.

             c.     Prior to sentencing, the defendant agrees to notify the Financial

Litigation Unit of the U.S. Attorney's Office before making any transfer of an

interest in property with a value e.xceeding $1,000 owned directly or indirectly,



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individually or jointly, by the defendant, including any interest held or owned

under any name, including trusts, partnerships, and corporations.

                         IMPOSITION OF SENTENCE

      15.    The defend~t understands that the District Court in imposing

sentence will consider the provisions of the Sentencing Guidelines. The defendant

agrees that there is no promise or guarantee of the applicability or non-applicability

of any Guideline or any portion thereof, notwithstanding any representations or

predictions from any source.

      16.    The defendant understands that this Agreement will not be accepted or

rejected by the Court until there has been an opportunity by the Court to consider a

presentence report, unless the Court decides that a presentence report is

unnecessary. The defendant understands that the Court will not accept an

agreement unless the Court determines that the remaining charge adequately

reflects the seriousness of the actual offense behavior and accepting the Agreement

will not undermine the statutory purposes of sentencing.

                          WAIVER OF TRIAL RIGHTS

       17.   The defendant understands that by pleading guilty she surrenders

certain rights, including the following:

             a.     If the defendant persisted in a plea of not guilty to the charges

against her, then she would have the right to a public and speedy trial. The trial



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could be either a jury trial or a trial by a judge sitting without a jury. The

defendant has a right to a jury trial. However, in order that the trial be conducted

by the judge sitting without a jury, the defendant, the prosecution, and the judge all

must agree that the trial be conducted by the judge without a jury.

             b.     If the trial is a jury trial, the jury would be composed of twelve

laypersons selected at random. The defendant and her attorney would have a say

in who the jurors would be by removing] prospective jurors for cause where actual

bias or other disqualification is shown, or without cause by exercising peremptory

challenges. The jury would have to agree unanimously before it could return a

verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict her unless, after

hearing all the evidence, it was persuaded of her guilt beyond a reasonable doubt.

             c.     If the trial is held by a judge without a jury, the judge would

find the facts and determine, after hearing all the evidence, whether or not he or

she was persuaded of the defendant's guilt beyond a reasonable doubt.

             d. .   At a trial, whether by a jury or a judge, the prosecution would

be required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those prosecution witnesses and her attorney

would be able to cross-examine them. In turn, the defendant could present

witnesses and other evidence on her own behalf. If the witnesses for the



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defendant would not appear voluntarily, the defendant could require their

attendance through the subpoena power of the Court.

             e.     At a trial, the defendant would have a privilege against

self-incrimination so that she could decline to testify, and no inference of guilt

could be drawn from her refusal to testify.

             f.     At a trial, the defendant would have a right to have the jury

determine beyond a reasonable doubt the quantity and weight of the controlled

substance charged in the Indictment necessary to establish the statutory mandatory

minimum penalty or an increased statutory maximum penalty.

      18.    The defendant understands that by pleading guilty, she is waiving all

of the rights set forth in the preceding paragraph. The defendant's attorney has

explained those rights to her, and the consequences of the waiver of those rights.

                         USE OF PLEA STATEMENTS

      19.    If, after signing this Agreement, the defendant decides n~t to plead

guilty as provided herein, or if the defendant pleads guilty but subsequently makes

a motion before the Court to withdraw her guilty plea and the Court grants that

motion, the defendant agrees that any admission of guilt that she makes by signing

this Agreement or that she makes while pleading guilty as set forth in this

Agreement may be used against her in a subsequent trial if the defendant later

proceeds to trial. The defendant voluntarily, knowi~gly, and intelligently waives



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any protection afforded by Rule 11 (f) of the Federal Rules of Criminal Procedure

and Rule 410 of the Federal Rules of Evidence regarding the use of statements

made in this Agreement or during the course of pleading guilty whe~ the guilty

plea is later withdrawn. The only exception to this paragraph is where the

defendant fully complies with this Agreement but the Court nonetheless rejects it.

Under those circumstances, the United States may not use those statements of the

defendant for any purpose.

       20.      The defendant understands that the prosecution will apprise the Court

and the United States Probation Office of the nature, scope and extent of the

· defendant's conduct regarding the charges against her, related matters, and any

matters in aggravation or mitigation relevant to the issues involved in sentencing.

       21.      The defendant and her attorney acknowledge that, apart from any

written proffer agreements, if applicable, no threats, promises, agreements or

conditions have been entered into by the parties other than those set forth in this

Agreement, to induce the defendant to plead guilty. Apart from any written

proffer agreements, if applicable, this Agreement supersedes all prior promises,

agreements or conditions between the parties.

       22.      To become effective, this Agreement must be signed by all signatories

listed below.




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      23.    Should the Court refuse to accept this Agreement, it is null and void

and neither party shall be bound thereto.

AGREED:

CLARE E. CONNORS
United States Attorney
District of Hawaii


                                                  Q
                                                 CIA
                                             Defendant

Dated:      /~2?                             Dated: - - - - - - - -



MOl!i:i          KHATIB
Assistant U.S. Attorney

Dated:   _I ____.__,_____
            ?../ ~/2.oz.3                    Dated:




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